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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,
CR-13-607
( JFB)
-against- : United States Courthouse
Central Islip, New York
TOMMY CONSTANTINE,
: December 18, 2013
Defendant. 2:45 p.m.
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TRANSCRIPT OF ARRAIGNMENT/BAIL APPLICATION
BEFORE THE HONORABLE JOSEPH F. BIANCO
UNITED STATES DISTRICT COURT JUDGE

APPEARANCES:
For the Government: LORETTA E. LYNCH, ESQ.
. UNITED STATES ATTORNEY
BY: CARRIE CAPWELL, AUSA
DEMETRI JONES, AUSA
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For the Defendant: EDWARD LITTLE, ESQ.
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Proceedings recorded by mechanical stenography.
Transcript produced by CAT.

Paul J. Lombardi, RMR, FCRR
US District Court Reporter
THE CLERK: Calling case USA v Tommy
Constantine.

Please state your appearance for the record.

MS. CAPWELL: Carrie Capwell, Demetri Jones and

Diane Leonardo for the government.
Good afternoon.
THE COURT: Good afternoon.
MR. LITTLE: Good afternoon, your Honor.
Ed Little for Mr. Constantine.
THE COURT: Good afternoon, Mr. Little.

Mr. Constantine is present.

This is his initial appearance in the district.

I assume he arrived yesterday?

MS. CAPWELL: Yes, your Honor.

I was informed yesterday by the marshals he
arrived.

THE COURT: I'm going to give Mr. Constantine
his Rule 5 rights. He probably received them in Arizona,
but I will give them to him again in an abundance of

caution.

You have the right to have the charges that have

been filed against you presented to you. You have the
right to retain counsel or request that counsel be

appointed. If you cannot afford counsel, you have the

right to have the circumstances if any under which you may

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be released on bail be considered by the court. You have
the right not to make a statement. Any statement you make
may be used against you.

You understand that, Mr. Constantine?

THE DEFENDANT: I do.

THE COURT: Mr. Little, you have been retained
to represent Mr. Constantine?

MR. LITTLE: Yes, for this purpose, your Honor.

THE COURT: Is your client prepared to be
arraigned on the indictment?

MR. LITTLE: He is, your Honor.

THE COURT: Mr. Constantine, have you received a
copy of indictment 13-607?

THE DEFENDANT: Yes.

THE COURT: Have you had sufficient time to
review it and discuss it with your attorney for purposes
of your arraignment?

THE DEFENDANT: Yes, your Honor.

THE COURT: Do you waive or give up the public
reading of the entire indictment?

THE DEFENDANT: Yes.

THE COURT: How do you plead, guilty or not
guilty?

THE DEFENDANT: Not guilty.

THE COURT: A not guilty plea has been entered.

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I'll now hear first from the lawyers in terms of
how they want to proceed with respect to the case and we
can discuss the issue of bail.

MR. LITTLE: Your Honor, since we last met we
have been able to put together a much more substantial
bail package.

THE COURT: Why don't we deal with the case
proceeding forward and then discuss the bail.

MR. LITTLE: Sure.

THE COURT: Let me ask the government first to
tell me in terms of discovery what you are providing and
how we should proceed with respect to the scheduling of
the case.

MS. CAPWELL: Yes, your Honor.

We do have another date in this case which is
January 22nd, 2 p.m. for the codefendant Phillip Kenner,
who appeared before your Honor already in this district
and that date was set.

So the government would propose that we now. make
that the next date as well for this defendant, and what
the government will do between now and that date is to
produce discovery to the defendants. We started the
process of gathering material.

We are going to do it on a rolling production of

discovery, probably beginning with a lot of the financial

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records that we have amassed during this investigation.
We are in the process of collecting those, getting them
Bates numbered, scanned. Hopefully we'll get them mostly
on disk to give to defense counsel.

To the extent we have statements of the
defendants, we will also turn those over, including any
prior testimony or affidavits that were submitted by these
defendants. It is a voluminous amount of discovery, your
Honor. So we do anticipate that it will take quite a
while to produce everything, but we will endeavor to begin
that production as soon as possible and prior to our
January 22nd date.

So for those reasons we would ask your Honor to
enter an order of excludable delay until January 22nd, for
the purposes of allowing the government to begin to
provide discovery and for defense counsel to begin its
process of reviewing that discovery and certainly we will
also put together a proposed plea agreement to turn over
to the defendant.

MR. LITTLE: The date is fine, your Honor, and
we agree to the exclusion for speedy trial purposes.

THE COURT: I have the waiver before me. Let me
confirm that with Mr. Constantine.

Mr. Constantine, you heard your lawyer ask me to

adjourn the case until January 22nd so that you and your

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attorney can continue to receive discovery from the
government, review it and decide how you want to proceed
with respect to the case.

By signing this waiver you are agreeing to
exclude the time under the Speedy Trial Act until January
22nd to allow you to do that.

Is that your wish?

THE DEFENDANT: Yes, your Honor.

THE COURT: I will grant that application.

Your appearance is adjourned to the date we had
previously scheduled for Mr. Kenner on January 22nd at 1
o'clock.

THE COURT: I had already excluded the time for
the case as a whole until that date because there was only
one speedy trial clock per case, but I will make the
adjournment again in this defendant's presence.

I exclude the time until January 22nd under
3161(H)(7)(a). In order to allow the defendant and his
counsel to review the discovery and decide how they want
to proceed with respect to the case as well as the
codefendant, I find the ends of justice served by granting
the continuance outweigh the best interests of both the
public and the two defendants in a speedier trial and I
have so ordered the waiver.

MS. CAPWELL: Your Honor, before we get to the

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issue of bail, I think it's probably also worth addressing
and I raised this before your Honor came out with

Mr. Little that I noticed when Mr. Little filed his notice
of appearance he wrote in it was for arraignment purposes
only and I wanted to make sure the court was aware of
that.

I don't think that's typical in this district to
appear only for arraignment purposes. I wanted the court
to be aware of that.

THE COURT: JI caught that when I asked you if
you were retained.

You are just retained for purposes of
arraignment and the issue of bail, is that accurate?

MR. LITTLE: That's correct, your Honor.

I don't know that that's the government's
concern, but, at any rate, as Ms. Capwell knows, the
defendant's in bankruptcy right now. So obviously
something has to be done.

We haven't worked that out yet.

THE COURT: Okay.

I will allow Mr. Little to appear for purposes
of the arraignment and bail. Obviously if
Mr. Constantine, you are unable to afford counsel, you can
always request that counsel be appointed.

You understand that?

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THE DEFENDANT: I do.

THE COURT: Why don't we proceed to the issue of
bail.

Because Mr. Constantine was not present when I
heard argument from the lawyers and issued the stay of the
magistrate judge's decision in Arizona, I'm going to treat
this as a new bail hearing. I'm going to consider it
de novo.

So I'll have the government go first and I have
heard a lot of the arguments, but because Mr. Constantine
wasn't present I'll consider it to be a full bail hearing
because it is a de novo review in any event.

Go ahead, Ms. Capwell.

MS. CAPWELL: Thank you, your Honor.

I'll also place on the record in terms of what
we filed on the detention issue on November 13th the
government filed a detention letter with your Honor and
it's also provided to defense counsel and also on November
21st we filed our motion to stay the release order from
the district of Arizona and we were also asked in that
letter that the defendant's release be revoked.

So some of the grounds for arguments were there,
but our position has been from the get-go, and it remains,
that a permanent order of detention should be entered here

because the defendant poses a serious risk of flight and

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that no condition or combination of conditions would be

sufficient to reasonably assure the court that this

defendant would appear at future court appearances.

Some of the factors that we have considered and
that go toward his risk of flight are one which is the
potential sentence that he faces in this case, based on
the charges which are serious, conspiracy to commit wire
fraud, substantive wire fraud charges as well as a
conspiracy to launder money, and those charges and as we
allege in the indictment the losses to the victims are at
least $15 million between both the defendant and his
codefendant, Mr. Kenner and this defendant is easily
responsible for at least half of those losses, so at least
$7 million of those losses.

There are several victims in this case, more
than 15 victims, probably more than 20 victims in this
case. Not all of them listed as John Does in the
indictment, there are additional victims as well. Because
of the loss amount and because of the number of victims
and the sophisticated means that were used in this case to
perpetrate a fraud over a number of years, the guideline
range that the government is calculating is approximately
151 to 188 months for this defendant, which is about 12 to
145 years, clearly a significant amount of time that this

defendant is facing, and a very serious reason that the

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defendant would have to flee prosecution, leave the
country, and avoid the potential of spending more than ten
years in jail.

The defendant is in a criminal history category
II based on a 1996 drug narcotics conviction out of
Illinois. The evidence in this case is strong. The
indictment is a speaking indictment and is very detailed,
but the evidence here includes financial records,
voluminous financial records that track the money from the
victims giving the money to Mr. Kenner, and at times also
to Mr. Constantine, and tracking the money flow, the
various accounts it went through. It was a very
sophisticated fraud.

So there are multiple accounts with different
names, holding companies, shell companies. So tracking
the money is quite an endeavor, but the financial records
do show that a large portion of the money that the
investors invested believed they were investing in
property, start-up companies, actually ended up being used
by the defendants just for their personal needs, paying
mortgage payments on their own properties, getting homes
out of foreclosure, traveling, credit card bills, all
kinds just to fund their lifestyle, and also the moneys
were used just for purposes that weren't authorized or

even Known to the victims.

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In addition to the financial records, we do have
several victims who would come to testify about the
representations that were made to them, the moneys that
they invested, and ultimately what happened to their money
and the loss of their money.

We also have e-mail and text message
communications, many of those are between the victims and
the defendants. Some are between Mr. Kenner and
Mr. Constantine. We have some text messages regarding
where some of the money that the victims invested in
Euphora went. We also have a recording, an audio
recording between defendant Kenner and Mr. Constantine, in
which basically Mr. Constantine describes himself as a
get-away driver. Mr. Kenner's the robber, Mr. Constantine
is the get-away driver. And we would certainly argue at
trial that that was an admission of his culpability and
his perception of his role in this scheme.

In addition, we are -- that's a summary of our
evidence at this point. We also believe that
Mr. Constantine poses a risk of flight --

THE COURT: Before you get to the other factors,
I saw in your letter you talked about forged signatures
and fictitious documents as well.

Does that involve Mr. Constantine? Do you have

evidence of him forging signatures or creating fictitious

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documents or does that relate to Mr. Kenner?
MS. CAPWELL: Your Honor, may I have a moment to
check with the case agents?
THE COURT: Yes.
(Whereupon, there was a pause in the

proceedings. )

MS. CAPWELL: Yes, your Honor.

There are some instances related particularly to
the investments in Hawaii where there are documents that
were fictitious that were created later, backdated to
appear as if they were created earlier in time and also
had a forged signature of one of the victims in this case.

So there are examples that also apply to
Mr. Constantine.

THE COURT: You are moving to the other factors.

MS. CAPWELL: Your Honor, there also is evidence
that Mr. Constantine has recent and substantial
international travel, including the Bahamas in March,
April and June of this year.

The records indicate that he traveled to Mexico
in March of this year, as well as August of 2012, Zurich
in December of 2012, and also he's been to Mexico at least
12 times, based on our travel records, between 2007 and

2009. He's no stranger to Mexico, and he also traveled to

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Greece quite some time ago in 1998, which is another
point, is that the defendant does have connections to
Greece.

We have a witness who advised the government I
think it's actually a victim that advised the government
that at one point Constantine stated that he had family in
Greece and if necessary he could move there. We have
evidence that the defendant speaks Greek and speaks Greek
to his family members. So he certainly knows the language
and can survive in Greece.

We also have evidence that his family I believe
it was his mother sold property in Greece within the last
two years and I believe part of that was to fund the
purchase of the home in Scottsdale, which is one of the
properties that I believe the defendant proposes to use to
request bail in this case.

So there certainly are ties to Greece that would
corroborate what the victim told us. In addition, the
defendant worked prior to his arrest in the aircraft
industry. He was the founder of a company called Set Jet,
which is in Scottsdale-Phoenix area, which offers private
VIP flights to a few cities, Los Angeles and a few other
cities.

In addition, he's worked for many years and this

was in his pretrial services report, for AZ Falcon

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Partners, also in Scottsdale, which also owns aircraft.
So he also would have access, both through his prior
employment and through all of his contacts in that
industry which is very well documented simply through the
internet. There are many postings, even on his own Tommy
Constantine Web site, he kind of boasts about the fact
that he, himself, is a helicopter pilot and there are news
articles of him being the founder of Set Jet.

So he clearly would have access, both through
his contacts in his prior employment to private aircraft,
and he, himself, knows how to pilot a helicopter.

I think very importantly is the fact that he
lives in Scottsdale Arizona. It's not a far drive to the
Mexican border. It's through our travel records, it's
clear that in order for somebody to leave the
United States and go to Mexico, they are not necessarily
stopped at the border. You can drive through. There's
not any immigration checks at that point. It's when
somebody tries to enter into the United States that
there's the immigration check.

So it would be very easy for the defendant from
his home in Scottsdale to jump in the car and be in Mexico
in a matter of hours, so even if the defendant were on an
ankle bracelet as the magistrate judge ordered as part of

the release package, that would not be sufficient to deter

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or prevent him from traveling to Mexico if that was his
plan. By the time the pretrial services officer had an
indication that Mr. Constantine was outside the limit of
where he was supposed to be, it would be too late at that
point to prevent him from traveling into Mexico, and then
after that, certainly there have been cases where people
have been once they get to where they are going are able
to remove the ankle bracelet.

So we certainly think it would be easy enough
for him to get to Mexico and then travel to wherever else,
including Greece, if he wanted to go to after that.

Also, your Honor, just in terms of the
statements he made to pretrial services that are in the
pretrial services report, as well as some of the testimony
he gave at his own detention hearing in Arizona and
compared to statements that he made in his bankruptcy
petition in the district of Arizona, there are a number of
inconsistencies there, touching on his income.

For example, in the pretrial services report, it
reports that he makes $5,000 a month, I believe working. at
the AZ Falcon Partners, versus in the bankruptcy petition
he reported no income for the last two years and there are
a few examples of that.

Another example of what brings the government

some concern in terms of his, that he would return to

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court and is able to follow the issue of being able to
follow the judge's instructions and rules and to respect
the court's orders, when we see some of these
inconsistencies, that's what concerns us and in the
pretrial services report, from Arizona, on page two toward
the bottom it says Mr. Constantine self-disclosed his home
was foreclosed in 2006, however could not recall the
address to his residence.

The government finds that to be suspect, and
from our investigation and our research, there was a home
in Scottsdale on North 93rd Place that Mr. Constantine
purchased in March of 2006 for approximately $768,000, and
in March of 2009 that property went into foreclosure, not
clear that's the property he's referring to, but $450 , 000
that the victims invested into the global settlement fund
in this case were transferred in June of 2009 to an
associate of Mr. Constantine, and then two days after that
transfer, that $450,000 was transferred to a title company
and by June 16th of ‘09, Constantine's friend or associate
then owned that property on North 93rd Place in
Scottsdale.

In the bankruptcy petition, the defendant
reported that he was at that address until August of 2009.
So it's just of some concern that through the pretrial

services reports that he said that one of his homes was

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foreclosed in 2006, but he couldn't remember the address,
and it seems like that address has a relationship to this
case here and that funds that were taken from the global
settlement fund, which were supposed to be used primarily
for legal defense in connection with investments, real
estate investments, was then transferred to an associate
of Mr. Constantine and used to purchase the home that was
in foreclosure. That's just one example of some of the
inconsistencies and concerns from the pretrial services.

In the pretrial services report as wel! there
was some discussion of this in the hearings in Arizona,
the defendant reported his home as being the 2555 North
Windy Walk Drive address in Scottsdale, Arizona, which is,
again, the home that was offered for bail purposes in
Arizona, and that's the home where his mother lives. The
defendant was actually living with his girlfriend at a
second address which is at the top of page two of the
pretrial services report at 103rd Street in Scottsdale.

But, again, he just disclosed to pretrial
services that he resided at the girlfriend's address at
times, based on surveillance in this case, the arrest in
this case, he was living at that other address, the 103rd
Street address, not at his mother's address. Those are
just a few of the things that in addition made the

government pause about the defendant's representations.

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So, your Honor, I think that primarily sums it
up. I may have some other things to add after Mr. Little
speaks, but based on all of those reasons, we believe he
poses a risk of flight in this case. It would be too easy
for him to flee, especially looking at the sentence,
potential sentence he's looking at, which jis greater than
ten years in this case.

Thank you.

THE COURT: Thank you, Ms. Capwell.

Go ahead, Mr. Little.

MR. LITTLE: It's a minor thing, but I want to
correct it right away.

This thing about the house, he gave his mother's
residence because his partner, her lease was up. She was
moving out. So he gave the mother's address as the
address he would be living since the lease was up. So
that's a gross exaggeration.

Your Honor, since the last time we met we have
been able to substantially increase the bail package.
Pretrial services, by the way, despite what counsel
characterized as their concerns about some minor points
and I can address those later, recommended release on the
$500,000 bail secured by real estate. Obviously we
understand the court has stayed that and it's a de novo

hearing now.

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But despite those minor points, pretrial
services still recommended he be released on bail. The
$5,000 item where he said he was making $5,000 a month,
what he said was he expected to make $5,000 a month once
the Falcon partners aircraft business was up and running
and they said we shouldn't talk about that because that's
a subjected case and the discussion ended there. That was
explained as counsel knows during the hearing and it's in
the transcript.

Let me go back to the bail package we are
proposing, your Honor. Mr. Constantine's mother,

Mrs. Kehey Constantine, has pledged her house and there is
an appraisal in the record of $500,000. The original bail
was approved by the court there. She lives there. It's
her home and her primary asset.

In addition, Tommy's brother, who is a severe
epileptic, who is unemployable, lives there as well. It's
beyond belief that he would flee and render them homeless.

But, in addition, we have two other sureties,
Sue Ellen Ferguson who lives in Delray, Florida, has
agreed to pledge her home which can easily cover another
$500,000 on a personal recognizance bond and we can get
the papers to establish that. Mrs. Ferguson is the mother
of Tommy's best friend who died from leukemia, and even

though Mr. Constantine has his mother, in addition

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Mrs. Ferguson is almost a surrogate mother to him and is
happy to sign bail and pledge her own home, so that's a
million dollars.

In addition, Dr. Kip Lassiter, who is a highly
respected doctor and a very successful businessman in the
Phoenix area has agreed to pledge an additional million
dollars which he can secure with real estate.

Mr. Lassiter is the owner of the Set Jet company. It's
not Mr. Constantine, as counsel suggested. That

Mr. Lassiter is a very prominent businessman and he agreed
to increase the bail.

So we have a total package of $2 million.
Obviously it will take time to obtain appraisals and
necessary paperwork to secure the properties, but we are
proposing that as a package. We submit it's just not
believable that Mr. Constantine would abandon his mother,
his brother, Mrs. Ferguson, who's a second mother to him,
as well as his business partner, Mr. Lassiter, and deprive
them of $2 million in bail by fleeing.

In addition, he has already surrendered his
passport, and despite the urban myth Mexico is a safe
place to flee, it's not true. You cannot go to Mexico
without his passport. His passport has been surrendered.
It's a gross exaggeration to suggest he's familiar with

Mexico and goes there a lot. The trips he made were back

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in 2007 to 2009 in connection with a business venture
involving a golf course, the Diamanté Resort. These were
all business trips of I guess three or four years ago now.
Since then he went there once on vacation, but the fact of
giving over the passport would make it impossible for him
to even enter Mexico.

I'd like to address this business about the
airplanes, which is another gross exaggeration. He has
been relieved, once he was arrested, the owners of AZ
Falcon Partners, a partnership that owns three aircraft,
relieved him of all of his responsibilities. In addition,
none of those aircraft can be used, as counsel should
know. They seized the Falcon 10, the other two aircraft,
the Falcon 20 and a Falcon 50 are grounded. They are
going through a six-year renovation. They are not flight
worthy. But, in any event, the owners of that business
will not permit him to have access to the property.

With respect to Set Jets, it's true that
Mr. Constantine helped organize that company years ago,
but Mr. -- Dr. Lassiter, who's pledging a million dollars
from his own assets to secure his bail, is the primary
shareholder there and there is no way that he would
jeopardize his million dollars of exposure by giving
Mr. Constantine access to the jets, and he's showing his

support for his bail by subjecting himself to a mitlion

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dollars worth of liability.

There was reference to Greece. This is probably
the grossest exaggeration so far. Mr. Constantine was
born and raised and lived here his entire life. He speaks
Greek because his parents speak Greek. He went to Greece
once where he visited his aunt who has since died. He was
on a business trip to Turkey and he stopped in Greece to
visit her.

He hasn't been there since he was a young boy.
It's ridiculous to suggest that somehow he would depart
for Greece. It makes no sense. In addition, Greece has
extradition treaty with the United States.

THE COURT: Your position is the victim made
that statement up?

MR. LITTLE: Yes, I do.

There has been vicious civil litigation and
arbitration between and among various hockey players and a
person named Ken Cowdy who frankly is surprising hadn't
been named in this indictment since he’s the one that ran
the Mexican resort known as Diamanté and that's where the
hockey players’ money is lost. For some reason Mr. Cowdy
has not been charged here.

That brings me to the charges, your Honor,
because again they have been grossly exaggerated. First

of all, $90 million of the alleged losses are attributed

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to the Hawaii project. The Hawaii project began long
before Mr. Constantine even met Mr. Kenner. Kenner put
hockey players’ money apparently in that project at the
time he met Mr. Constantine, he purported to be the owner
of that prong.

Mr. Constantine had no involvement with hockey
players in connection with that investment, and didn't
know that the hockey players were involved in that until
much later when there was a civil arbitration and he was
shocked to find out that Kenner lied to him and actually
put the hockey players’ money in it. We think the
government's evidence with respect to his involvement as
far as the Hawaii case is concerned will be insufficient
to get any kind of a conviction.

There is reference in there to $3.5 million.
That is money that Mr. Constantine raised with a man named
James Gardina and the government knows about this, who is
an investor who put forward $3.5 million as part of bridge
financing before Lehman Brothers came into the picture to
finance the Hawaii project to completion. There is the
reason Mr. Constantine was compensated by Mr. Kenner
during the tail end of the Hawaii project. But to suggest
somehow he's a coconspirator of the Hawaii project will
not be borne out by the evidence.

No. 2, there are a lot of allegations about this

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so-called global settlement fund. It is true that the
hockey players were asked to put money in a fund in Ron
Richards account. Ron Richards is a lawyer who is
handling litigation. He had an escrow account and money
called the global settlement fund was put in that escrow
account.

In addition, and completely separate from that,
other money was deposited by Mr. Constantine in that
account, and the withdrawals for his personal benefit came
from his funds, not from the global settlement fund, the
escrow account and the global settlement fund had been
conflated into one thing. They are entirely separate.

That escrow fund is an attorney's escrow fund
that has different funds within it. And the money that
the government claims was released to Mr. Constantine
which he used for personal expenses came from deposits
that he made and his investors made in that, not from
hockey players’ money.

Finally, there are two paragraphs in the letter
submitted by counsel on the Eastern District case, and
admittedly the government actually comes out and says
that's a separate fraud not involving Mr. Constantine. So
to say this is a $15 million fraud is to grossly
exaggerate it, and his exposure, therefore, is not the 12

years that counsel talks about. It's probably less than

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half that.

If Mr. Constantine were to flee, he knows that
in addition to being prosecuted on the substantive
charges, he faces an additional five years for flight. It
would be insane for him to flee, to in effect double his
potential exposure, which I believe is more like five
years to ten years, but, more importantly, to abandon his
own mother, his epileptic brother, Mrs. Ferguson, who's a
second mother to him, and his business partners exposing
himself to $1 million in exposure to so-called flee to
some unknown destination.

There's no reason in a white collar case like
this that he should not be given bail with an amount of $2
million and all this security and we would agree to a very
strict pretrial reporting.

May I have a moment, your Honor.

(Whereupon, there was a pause in the

proceedings. }

MR, LITTLE: Most importantly, your Honor, and
this is personal, but I think this is the strongest thing
we can say, his partner, Sara Bauers, is six months
pregnant with his first child, a son, who is to be born in
March. It's inconceivable that he would bolt with that

circumstance, in addition to betraying his family and

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friends.

Finally, your Honor, I made mention to this the
last time we were here. I have represented
Mr. Constantine for the past three years, and during that
time we had repeated meetings with the Southern District
of New York's US Attorney's Office, Arlo Devnon Brown was
the assistant, and as recently in this last year we went
in and had an extended proffer with Mr. Devnon Brown and
he was to contact us for a second proffer.

It is highly unlikely in white collar cases,
your Honor knows this from your Honor's own experience, in
a white collar case where a defendant knows about an
investigation for years, where he's retained counsel,
where counsel is going in to make proffers and
presentations where he himself is going in, where he would
have had the opportunity to flee for a long time before
the charges were brought, would flee now. It makes no
sense at all.

So for all these reasons, your Honor, we ask
that the court approve a bail package of $2 million.
Obviously we'll need time to secure for the government's
consideration appraisals and whatever else needs to be
done to secure the real estate securing all these bonds.
So we recognize there will be some delay here, but we wil |

move quickly and we believe this is the only just result.

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Thank you.

THE COURT: Thank you, Mr. Little.

You want to respond, Ms. Capwell?

MS. CAPWELL: Just briefly and I'll address the
last point that Mr. Little raised again about the
investigation in the Southern District.

It's my understanding there was only one meeting
where the defendant was present, December of 2012. I
wanted the record to be clear there weren't multiple
meetings where the defendant and Mr. Little met with the
Southern District.

And obviously there is a change in circumstances
here, your Honor noted that when we were in court on
November 21st. It's different when somebody thinks they
are meeting with a US Attorney's Office just to discuss
and answer questions versus once there is an indictment
and an arrest warrant for that individual and they are
looking at charges that could bring them more than ten
years in jail. Certainly there is a change of
circumstances here from just voluntarily going in to speak
to the government.

And then just some issues on the properties that
the defense counsel spoke about. One was the home of the
defendant's mother in Scottsdale. We received a title

search on that property and it indicates that there are

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three liens on that property. That would be of concern as
to that property. It appears that there is a $3,900 lien,
an $80,000 lien and it appears there is a $250,000
mechanics lien on that property.

As to Sue Ellen Ferguson, the second individual
defense counsel listed as being willing to post a home in
Florida, from our investigation it is our understanding
that the defendant owes her $9 million at this point. She
advised the agents that that is the case, she corroborated
that that is the case that the defendant does owe her $9
million.

THE COURT: From what?

From investment money? What is the $9 million
from? Hold on, Mr. Little. I'11 give you a chance.

MS. CAPWELL: Your Honor, it's not clear what
that money was from, but she did say that with interest he
owes her $9 million. I believe this goes back quite a few
years as well.

From our investigation we also know that she's
somebody who lives well. She's comfortable, and so
another $500,000 on top of the $9 million that he owes her
in the scheme of things is really not that much. If he
already owes her $9 million, what's another $500 , 000?

And, finally, as to defense counsel's statements

about Mr. Constantine and his connections to Set Jet and

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AZ Falcon Partners, we do have an e-mail that's dated
January of 2012 from Mr. Constantine to a number of it
says undisclosed recipients forwarding Set Jet membership
preregistration confirmation and at the bottom on the
signature block it's Tommy Constantine, chairman and
cofounder, Set Jet, LLC. So up until early last year he
was still representing himself as the chairman and
cofounder of that company.

And, in addition, in his bankruptcy filings
under schedule B of personal property, AZ Falcon partners,
LLC is listed as an aircraft management company and the
debtor's interest is 50, 5-0, percent, so he owns an
airplane needing extensive repairs and worth less than the
lien, but he does state he has a 50 percent interest in
that and this is from April of 2012.

THE COURT: Let me ask you two questions in
response to Mr. Little.

He suggested to the court that the diversion of
the victims' money was not, in fact, a diversion that
there was a separate attorney escrow account, and that was
the money that Mr. Constantine was using for mortgage,
whatever personal items that you are arguing that he
diverted victims’ money.

What's your response to that?

MS. CAPWELL: Your Honor, I know of at least one

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example where a victim who believed he was investing in
Euphora sent I believe $200,000, and I believe that full
amount went into the GSF fund -- I'm looking at my agent
to get confirmation.

Your Honor, in terms of our allegations to the
GSF funds, our allegations pertain strictly to money that
was invested by the players as their GSF contribution. So
those monies were supposed to be going to help with the
legal fight against Ken Jowdy, et cetera, as it was
represented to the players by Mr. Kenner and
Mr. Constantine.

There are instances where money that the
defendant Constantine recruited from at least one
individual I know off the top of my head as an investment
in Euphora, ended up going into Ron Richards escrow
account and then got moved out of there into another
account and told by the defendant, then ended up going
into Euphora and then ended up being used by the defendant
for personal uses.

As to the GSF fund and the losses we are
alleging there, they pertain to moneys that the hockey
players invested for legal defense and for some other
purposes that were outlined by the defendants.

THE COURT: Then on the loss amount, Mr. Little

suggested it's a fraction of the $15 million.

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I thought I heard you say Mr. Constantine's
responsible for at least half, is that correct?

MS. CAPWELL: Yes, your Honor, and that is stil]
our position.

We have evidence that as to the Hawaii
investments, even prior to the loan that Mr. Gardina and
Mr. Constantine purportedly made to the Hawaii investment,
even before that Mr. Constantine was receiving large
amounts of money from the Hawaii investments.

In addition, in terms of the backdating and
forged document that I mentioned earlier in response to
your Honor's question, a couple of those documents were
consulting agreements in connection with the Hawaii
project, and the government's position is that those
consulting agreements were created well after the fact and
backdated to try to justify why Mr. Constantine was
receiving funds that were supposed to be going to the
Hawaii investments.

And, in addition, with the whole issue with the
$3.5 million loan that Mr. Little mentioned, it's the
government's position that a large chunk of the money that
Mr. Constantine ultimately received back from the Hawaii
project due to that loan was actually part of the fraud,
jn the nutshell without going into too much detail,

basically Mr. Kenner and Mr. Constantine conspired to

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basically pay back the loan before they had to and there
was a prepayment penalty that was built into the loan
agreement.

And even though Lehman Brothers and another
entity told Mr. Kenner that he should avoid that
prepayment penalty by paying back almost the entire loan,
but holding back a little bit of it, Mr. Kenner insisted
he wanted to pay back the loan in full early, despite this
penalty which was egregious, I think it was $2 million, it
was a $2 million prepayment penalty which could have been
avoided.

And one of the conditions that Lehman Brothers
and one of the other entities involved put into an
agreement was that Mr. Kenner was to receive absolutely no
moneys from the prepayment penalty, indirectly, directly,
in any form if they were going to, in fact, have to pay
this prepayment penalty and as our investigation reveals,
the moneys that went to Mr. Constantine, about $700,000,
then flowed from accounts that Mr. Constantine then
controlled to Mr. Kenner of the money that he was not
supposed to receive.

So even with that $3.5 million loan, it's our
argument that that is part of the fraud in this case.

THE COURT: Mr. Little.

MR. LITTLE: May I respond briefly, that was a

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lot of information and they are trying their case now,

But the government didn't quite respond to the
court's question about the money that came out of the
global settiement fund or more properly the escrow
account. Sergei Gonchar is a hockey player. He had a
forensic accountant review Ron Davis's -- the attorney's
escrow account, Ron Richards, and determined to his
satisfaction that all of the money that Constantine got
out of the escrow account did not come from the global
settlement fund, but came from funds that were deposited
from other sources.

With respect to the so-called $9 million that he
supposedly owes to Sue Ellen Ferguson, first of all it's
not $9 million, it was $6 million, and he doesn't owe it
to her. That's her investment in Euphora. She she's the
primary investor in this credit card company and the Tact
she's willing to post her home in addition shows she is
not a defrauded investor they are suggesting and it
boggles the imagination to assume since she's in it for $6
or $9 million, she might as well be in it for another
$500,000. People don't think that way. If she thought
she was being defrauded or abused, she wouldn't give him
another dime.

The suggestion that he's really an owner of AZ

Falcon Partners is another conflation the government did.

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He's 50 percent of the management company. They don't own
the jets. The jets are owned by a partnership called AZ
Falcon Partners. These are investors who used to have him
manage, but now he no longer will. He's been relieved of
his responsibilities.

As far as his being chairman, he was chairman
before the business was funded. He's no longer chairman
of anything.

Let me see if there is anything else here.

The so-called forgery is not accurate, your
Honor. We expect if this case goes ahead to trial as I
think it will, that the so-called forgery was not the
person whose signature was supposedly forged actually
signed that document in front of a number of witnesses in
Hawaii, and still counsel cannot respond to the whole
point that the Hawaii part of this so-called fraud
conspiracy occurred before Mr. Constantine was involved.

He had no knowledge of the hockey players’
involvement. He thought it was Kenner's financing, and he
was paid money as a consultant at the rate of $20 or
$30,000 a month to find new investors and James Gardina
actually did invest. There was a real $3.5 million that
was invested as bridge financing.

The only point, your Honor, because I know we

can't try the case, but there are answers to these things.

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This is not a slam dunk case.

THE COURT: What's your answer to the audio
regarding where he apparently refers to him as the
get-away driver for Mr. Kenner?

MR. LITTLE: He was not talking about himself.
He was talking about Ken Jowdy.

When you read the whole transcript this context,
he's accusing when Kenner was trying to suggest that he'd
be liable for all these things even though Kenner is the
real malefactor in this he said no, you are wrong. You
are the real bank robber and the other guy is the get-away
driver, it’s Jowdy.

Jowdy is the one that defrauded the hockey
players with a Mexican golf resort that Mr. Constantine
had nothing to do with this indictment. And again one
wonders why Mr. Jowdy was not charged in this indictment
since most of the hockey players' money was lost as a
result of the resort in Mexico.

THE COURT: What's your answer to the lien on
the mother's house?

MR. LITTLE: We don't know anything about it,
but we'll look into it.

We thought the title search was clear.
Obviously if it's not clear we'll come up with other

security and fix that. It's the first I heard of it.

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THE COURT: Thank you, Mr. Little.

The court has reviewed the bail issue de novo,
both from the submissions and arguments of counsel and I
believe the government has met its burden of proof by a
preponderance of the evidence that there are no conditions
that can reasonably assure the defendant's appearance in
court.

I will state the reasons for that decision now,
but going through the various 3142 G factors, first the
nature and circumstances of the offense, this is obviously
an extremely serious offense involving millions of dollars
in alleged fraud. Whether or not Mr. Constantine is
responsible for the $15 million that the government says
is the entire scope of the fraud or several million of
that amount, it's still a serious offense, and the
defendant is facing substantial jail time based upon the
nature of the alleged fraud in this case.

With respect to the weight of the evidence, the
government has proffered, which the court can accept for
purposes of a bail argument, that a number of victims
would testify as to Mr. Constantine's role in the alleged
fraud. Obviously there's been a grand jury determination
that there is probable cause to believe that
Mr. Constantine was involved in the fraud, and the

government has proffered that they have financial records,

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e-mail, text, that will corroborate the defendant's
involvement in the fraud, as well as the diversion of at
least some portion of the money that the victims believed
was going to be investment.

The next factor in terms of the history and
characteristics of the defendant, the defendant certainly
has the ability, whether it was for purposes of the
investment or not, the defendant certainly has the ability
to leave the country through Mexico and flee the
United States. He has had substantial international
travel to Mexico. He does have some ties to Greece,
whether or not he's visited there, he certainly has ties
there and the government has proffered, again, that the
victim will testify that he stated that he had family in
Greece. He could move there.

The issue of the aircraft industry, whether or
not he has access to aircraft in the court's view is not a
critical determination for purposes of the bail. With or
without aircraft it's the court's belief he could easily
leave the United States if he wanted to flee.

I’m not sure, Mr. Little, what urban myth you
are referring to. I think if the defendant wants to leave
the United States, even if his passport has been
confiscated, it certainly would not be difficult for the

defendant to leave the United States from Mexico or some

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other means if he wished to, with or without his
United States passport.

I think cases are littered with individuals who
are able to do that despite their passports being
surrendered to the government. You have the defendant who
is asserting he is essentially bankrupt at this point. He
has no job. He's not married although he does have
obviously ties to the community in terms of his mother,
siblings, and his pregnant girlfriend, I do not believe,
there is no basis to believe that is going to be
sufficient moral suasion for him to remain in the
United States when faced with substantial jail time and
the strong case that the government has proffered.

It creates an enormous risk of flight that I
don't believe that there are any conditions or combination
of conditions that can reasonably assure his presence in
court. The fact that the defendant knew of the
Southern District investigation, I agree with the
government, that the fact that the defendant comes in to
try to explain his involvement with what the government
believes is a fraud, and the fact he did not flee at that
point does not necessarily mean he wouldn't flee once he's
been indicted. The stakes have not changed.

He now has to face these charges and the

calculous and the extent of the flee is magnified

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enormously at that juncture as opposed to just trying to
explain to the government what your involvement or lack of
involvement was with respect to a fraud prior to the
indictment.

With respect to conditions that the court could
impose in terms of electronic monitoring and the GPS
locational device as I noted at the time I issued the stay
and I'll reiterate here, Ms. Capwell and the government
pointed this out, the defendant has the ability to Flee.
Whether or not he's wearing one of those bracelets, he has
an enormous head start if he decides to leave whatever
residence that bracelet is triggered to because by the
time the government is able to respond to that alarm, the
defendant is gone. He's gone.

He could cut off the bracelet, and be on his
way. So that does not provide sufficient assurance, at
least to this court, that he will not flee if the
government were able to track him if he wanted to flee.

With respect to the bail package, again, I would
just note that it's unclear what moral suasion the mother
of his best friend and this businessman that are willing
to post property would have over him in terms of his
mother's house as well. It's my belief there are no
conditions, I'm not determining that this particular bail

package is insufficient, although I believe it is, but I

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also believe that no conditions can reasonably assure his
presence in court or combination of conditions, given the
combination of factors and circumstances that have
presented to this court in this particular case.

So for those reasons I'm going to detain the
defendant pending trial. Obviously, Mr. Little, although
this is a case that has a substantial amount of discovery,
I understand the deprivation of liberty that is associated
with pretrial detention, and I can assure you and your
client that as soon as he's ready to go to trial, I will
schedule a trial date. The government will have to be
ready, and I'll schedule that as quickly as he and his
counsel are able to prepare a proper defense in the case.

So for those reasons, the defendant is detained.
Is there anything else from the government?

MS. CAPWELL: Your Honor, the only issue, and I
guess Mr. Little and I can discuss this, in terms of
providing discovery, I guess I would need to know whether
Mr. Little is going to stay on beyond today before I start
turning over discovery.

THE COURT: Just keep in communication with the
government in terms of what your status is going to be,
Mr. Little.

Okay?

MR. LITTLE: Of course.

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THE COURT: Thank you.

Anything else, Mr. Little?

MR. LITTLE: The government ought to produce and
not delay because of that.

THE COURT: Don't wait until that issue is
resolved.

Obviously, Mr. Little, as an officer of the
court whatever you produce to him he will produce to the
next counsel should he be relieved.

MS. CAPWELL: Yes, your Honor.

MR. LITTLE: Thank you.

THE COURT: Okay.

Thank you.

(The matter concluded. )

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